Case 2:23-cv-02347-EP-JSA Document 20 Filed 08/17/23 Page 1 of 2 PageID: 274




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                                    August 17, 2019

Via ECF
Honorable Evelyn Padin, U.S.D.J.
District of New Jersey
Martin Luther King Building
& U.S. Courthouse
50 Walnut Street Room 4015
Newark, NJ 07101
Re:     Mendham Methodist Church v. County of Morris
        Case No.: 2:23-cv-02347-EP-JSA

Dear Judge Padin:
        As your file may reflect, I represent Defendants Morris

County, Morris County board of County Commissioners, Morris County

Historic Preservation Trust Fund Review Board and John Krickus

(hereinafter, “Morris County”) with respect to the above-captioned

matter.       I am in receipt of the Motion to Intervene filed on behalf

of    David      Steketee     and   the   Freedom   from   Religion   Foundation.

(D.E.16)

        I write to advise the Court that Morris County takes no

position with respect to the Motion to Intervene and leaves same

to the sound discretion of the Court.                 With respect to the need
Case 2:23-cv-02347-EP-JSA Document 20 Filed 08/17/23 Page 2 of 2 PageID: 275
Honorable Evelyn Padin, U.S.D.J.
Re: The Mendham Methodist Church and The Zion Lutheran Church
Long Valley v. The County of Morris, et al.
August 16, 2023
Page 2



for formal discovery in this matter, Morris County asserts that

all facts necessary for the Court to rule on Plaintiff’s Motion

for Summary Judgment (D.E. 18) and the Cross Motion for Summary

Judgment to be filed on behalf of Morris County are fully set forth

in the Joint Stipulation of Facts. As a result, Morris County

respectfully submits that no formal discovery is required for a

full disposition of this matter.

      Thank you for your consideration of the within.


                                         Respectfully submitted,

                                         JOHN A. NAPOLITANO,
                                         MORRIS COUNTY COUNSEL

                                         By: William G. Johnson
                                             William G. Johnson, Esq.
                                             Special County Counsel

WGJ/dv
Cc: All Attorneys of Record – Via ECF
